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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF HAWAI‘I

 In the Matter of:                        CV NO. 17-00394 DKW-KSC

 MAUI INDUSTRIAL LOAN &                   Bankr. Case No. 10-00235
 FINANCE CO.,
                                          ORDER AFFIRMING
           Debtor,                        BANKRUPTCY COURT ORDER
 ______________________________

 RNI-NV LIMITED PARTNERSHIP,

              Appellant,

       v.

 DANE S. FIELD, Chapter 7 Trustee,

              Appellee.


                                 INTRODUCTION

       Appellant RNI-NV Limited Partnership (“RNI”) appeals the bankruptcy

 court’s July 31, 2017 “Final Judgment as to Trustee’s Objection to RNI-NV Limited

 Partnership’s Claim (POC#21).” RNI asks the Court to overturn the bankruptcy

 court’s decision disallowing its claim against the estate of chapter 7 debtor Maui

 Industrial Loan and Finance Company, Inc. (“MFC”). In the proceedings below,

 the bankruptcy court sustained the Trustee’s Objection to RNI’s Claim, based in

 part, on the bankruptcy court’s prior determination in a 2010 Adversary Proceeding

 between these parties that RNI does not have a valid restitution claim.
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       RNI argues that the bankruptcy court erred both procedurally and on the

 merits when it sustained the Trustee’s Objection and proceeded by contested matter.

 Although the Court agrees that the bankruptcy court should have proceeded by

 adversary proceeding, rather than by contested matter, given that the Trustee’s

 Objection included a request for subordination, such error was harmless under the

 particular circumstances presented because RNI suffered no prejudice. With

 respect to the substance of the claim, the bankruptcy court did not err when it

 precluded RNI from asserting a restitution claim, in view of its prior determination

 of that same issue in a 2010 Adversary Proceeding. Nor did the bankruptcy court

 err in disallowing RNI’s Claim pursuant to 11 U.S.C. § 502(b)(1), notwithstanding

 RNI’s repayment of its liability to the estate under Section 502(d). AFFIRMED.

                                  BACKGROUND

       MFC was a nondepository financial services loan company that was

 authorized to make loans, but not authorized to accept deposits from the public

 under state law. Lloyd Kimura controlled MFC and caused it to “borrow” money

 from investors in exchange for promised returns, and to repay the loans and make

 the promised returns largely with funds borrowed from subsequent investors. In a

 federal plea agreement, Mr. Kimura admitted that he operated MFC as a Ponzi

 scheme for approximately twenty-three years. See United States v. Kimura, Case

 No. 10-CR-00890 (D. Haw.), Dkt. No. 8 (1/5/11 Mem. of Plea Agreement). After a


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 state regulator ordered MFC to cease doing business, MFC and Kimura commenced

 separate bankruptcy cases in 2010. See Mem. of Decision on Tr.’s Mot. for

 Instructions, filed Sept. 7, 2017, attached as Ex. 3 to MFC Opening Br., Dkt. No. 6.1

 I.     Bankruptcy Proceedings

        In 1999, RNI paid $1,000,000 for forty percent of the stock in MFC, but did

 not obtain approval from the State Division of Financial Institutions before

 completing the stock purchase. In 2007, when RNI sought to withdraw its

 investment in MFC, the parties entered into a stock repurchase agreement on

 October 8, 2007, in which MFC promised to pay RNI a total of $2,500,000 in

 installments. MFC paid $1,040,000 on the repurchase agreement before defaulting.

 RNI then sued MFC in state court and judgment was entered in RNI’s favor on

 November 4, 2009 (Civil No. 09-0037).

        MFC filed for bankruptcy under Chapter 7 on January 28, 2010. Two

 bankruptcy proceedings are relevant to this appeal. First, the Trustee successfully

 brought an adversary proceeding against RNI seeking to recover the $1,040,000 that

 MFC paid to it (Adv. Pro. No. 10-90069). Second, on April 1, 2010, in the Chapter

 7 proceedings below (Bankr. No. 10-00235), RNI filed Proof of Claim No. 21 (from

 Claims Registry) for $1,938,186.97, which the bankruptcy court disallowed upon



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  Unless otherwise indicated, all references to the record correspond to this Court’s docket number
 entries for the instant appeal, Civil No. 17-00394.

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 the Trustee’s Objection and which is the subject of the present appeal. See Dkt. No.

 7-2 (4/1/2010 POC No. 21).

       A.     Adversary Proceeding (Adv. Pro. No. 10-90069)

       The Adversary Proceeding was an avoidance action brought by the Trustee to

 recover the amounts paid by MFC to RNI under the stock repurchase agreement.

 The complaint in the Adversary Proceeding alleged four counts: (1) violation of the

 Hawaii Business Corporations Act, HRS § 414-111(c) (Count I); (2) violation of the

 Hawaii Uniform Fraudulent Transfer Act, HRS Chapter 651C (Count II); (3) 11

 U.S.C. § 548 (Count III); and (4) transferee liability pursuant to 11 U.S.C. § 550

 (Count IV). The bankruptcy judge granted the Trustee’s motion for summary

 judgment on Counts I, II, and IV in a May 16, 2011 Memorandum of Decision, and

 on June 1, 2011, the parties stipulated to dismiss Count III. On May 27, 2011, RNI

 filed a Notice of Appeal of the May 16, 2011 Decision. The district court dismissed

 the appeal for lack of jurisdiction, and the Ninth Circuit affirmed. See Field v.

 RNI-NV (In re Maui Indus., Loan & Fin. Co., Inc.), 2011 WL 1870289 (Bankr. D.

 Haw. 2011), appeal dismissed, 2011WL 6012039 (D. Haw.), recon. denied, 2012

 WL 667759 (D. Haw.), aff’d, 583 Fed. Appx. 636 (9th Cir. July 14, 2014).

       The bankruptcy court determined that the pre-petition transfers violated the

 Hawaii Business Corporations Act, in part, because at a time when it was insolvent,

 MFC made “distributions” to RNI, which under Hawaii law, are defined as “[a]


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 direct or indirect transfer of money or other property (except its own shares) or

 incurrence of indebtedness by a corporation to or for the benefit of its shareholders

 in respect of any of its shares.” Mem. of Decision at 6, filed May 16, 2011, Dkt.

 No. 7-31 (quoting HRS § 414-3). The bankruptcy court explained that RNI’s

 restitution claim was also not warranted because “granting RNI a restitution claim

 would unjustly give RNI greater rights than it bargained for. RNI’s restitution

 claim, if granted, would put RNI on a par with [MFC]’s unsecured creditors, even

 though RNI agreed to buy stock, which is subordinate to creditor claims.” Id. at 7.

 The bankruptcy court reasoned that “[a]llowing RNI to elevate its rights to equal

 status with unsecured creditors would be unfair to [MFC]’s other creditors.” Id.

 (citing Durette v. Aloha Plastic Recycling, Inc., 105 Hawai‘i 490, 503, 100 P.3d 60,

 73 (2004) (recognizing that restitution is equitable in nature, guided by the goal of

 preventing injustice)). The bankruptcy court further determined that “a party that

 has engaged in wrongful conduct in connection with the transaction is not entitled to

 restitution,” citing RNI’s failure “to obtain regulatory approval before acquiring

 shares of [MFC].” Id. at 7. The bankruptcy court concluded that the Trustee was

 entitled to avoid the stock repurchase agreement, the related promissory note, and

 the payments from MFC to RNI under HRS § 414-111(c). Id. at 8.

       Additionally, because there was no dispute that RNI did not give reasonably

 equivalent value in exchange for the $1,040,000 in transfers received from MFC,


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 that the transfers occurred within a four-year reach-back period, or that RNI did not

 prove that it took the transfers in good faith, the bankruptcy court found the transfers

 were avoidable by the Trustee under the Hawaii Uniform Fraudulent Transfer Act,

 HRS § 651-4C(a). Id. at 9–10. Finally, the bankruptcy court concluded that the

 Trustee was entitled to recover from RNI the $1,040,000 in transfers under 11

 U.S.C. § 550, and awarded the Trustee pre-judgment interest at ten percent per

 annum from the date on which the transfers were made. Id. at 11.

       Following RNI’s unsuccessful appeals to the district court and the Ninth

 Circuit, the Trustee executed on RNI’s appeal bond and, on September 11, 2014,

 filed a Satisfaction of Judgment for the $1,428,324.90 that RNI paid back to the

 estate in the avoidance action. Dkt. No. 7-44 (9/11/2014 Satisfaction of Judgment

 in Adv. Pro. No. 10-90069); Dkt. No. 7-6 (8/7/14 Notice of Receipt of Payment on

 Judgment in Adv. Pro. No. 10-90069).

       B.     RNI’s Claim And Trustee’s Objection (Bankr. No. 10-00235)

       In the MFC Chapter 7 case, RNI filed its Proof of Claim No. 21 (“Claim”) in

 the amount of $1,938,186.97 on April 1, 2010. Dkt. No. 7-2. On August 2, 2011,

 while the contemporaneous Adversary Proceeding was pending, the Trustee




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 scheduled RNI’s Claim at $0. Dkt. No. 7-4 at 6 (8/2/11 Mot. to Approve Procedure

 for Bifurcation of Unsecured Claims Filed by Ponzi Scheme Investors).2

        On April 25, 2017, the Trustee filed a Motion for Instructions as to

 Distribution Rights of Creditors Filing Claims (“Motion for Instructions”), seeking

 clarification from the bankruptcy court on the procedure for disbursing

 approximately $8,000,000 in estate funds to creditors, of which $6,000,000 was

 designated for timely “Class A” restitution claims under 11 U.S.C. § 726(a)(2).

 Dkt. No. 7-7. The Motion for Instructions sought guidance as to how the Trustee

 was to distribute the balance of estate funds—whether to first pay untimely claims

 (Section 726(a)(3)) or “Class B” claims (lost investment/lost profit). Id. at 2–3.

 Exhibits A through C to the Trustee’s Motion for Instructions proposed

 classification and distribution of the estate funds to three types of creditors based on

 their classes of recovery: “Class A” (timely restitution claims); “Class B” (timely

 lost profit claims); and untimely, as-yet unbifurcated claims. Because RNI’s Claim

 for $1,938,186.97 was neither scheduled in Exhibits A though C nor addressed in the

 Motion for Instructions, RNI filed an Objection to the Trustee’s Motion for

 Instructions on May 19, 2017, demanding that its Claim be classified “in Exhibit A

 [Class A claims], as a timely filed proof of claim,” either “for $1,938,186.97 or


 2
  As of August 2, 2011, RNI had not yet complied with the requirements of an “allowed claim”
 under 11 U.S.C. § 502(d). RNI had posted a bond pending its appeal of the Adversary Proceeding
 on June 17, 2011, but did not satisfy the judgment until September 11, 2014.

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 $1,728,831.00, the amount of the appeal bond paid over to the Trustee.” Dkt. No.

 7-8 at 2, 5. RNI argued that “[u]nder § 502(d), after RNI had posted an appeal bond

 . . . and the Trustee filed his Satisfaction of Judgment on September 14, 2014, RNI’s

 proof of claim was reinstated and allowed to participate in the distribution of the

 estate funds, unless the Trustee filed a formal objection.” Id. at 8.

       On June 1, 2017, the Trustee did object, filing an Objection to RNI’s Claim on

 the bankruptcy court’s local form (hib_3007-1), asserting that the Claim should be

 disallowed in its entirety. Dkt. No. 7-11 (Objection to Claim). The Trustee’s

 Objection argued that RNI’s Claim was unenforceable against the estate by

 operation of collateral estoppel or issue preclusion, in light of the issues already

 adjudicated by the courts in the Adversary Proceeding. In the alternative, the

 Trustee asserted that any “allowed claim” that RNI may have must be subordinated

 to the lowest priority under Section 510(b), or alternatively, equitably subordinated

 under Section 510(c), or alternatively, subordinated to a “Class B” claim. Dkt. No.

 7-11 at 15.

       RNI opposed the Trustee’s Objection as both procedurally improper and

 substantively without merit. RNI first asked the bankruptcy court to dismiss the

 Trustee’s Objection on procedural grounds because the Trustee combined its

 Objection to the Claim with another demand for relief—subordination—which is

 not permitted under Federal Rule of Bankruptcy Procedure 3007(b) and Local


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 Bankruptcy Rule 3007-1(d). According to RNI, when an objection is accompanied

 by a subordination request, such relief must be sought in a separate adversary

 proceeding. Dkt. No. 7-12.3

           In reply, the Trustee emphasized that he only sought subordination of the

 Claim in the alternative and argued that RNI identified no prejudice that it would

 suffer should the bankruptcy court proceed by way of contested matter. According

 to the Trustee, there were no remaining issues of factual or legal dispute regarding

 subordination, since all such issues had previously been determined in the

 Adversary Proceeding. Dkt. No. 7-13 at 4–5. The Trustee also maintained that

 RNI did not have a restitution claim because the bankruptcy court previously

 determined in the Adversary Proceeding that RNI was a shareholder, not an MFC

 investor, and that MFC made “distributions” to RNI. Moreover, the Trustee

 asserted that RNI’s Claim was not “restored” pursuant to Section 502(d); rather, its




 3
     RNI declared in its opposition:

           RNI hereby raises an objection to the Trustee pursuing its objection and
           subordination of RNI’s claim by way of a Rule 3007(a) and/or Rule 9014
           “contested matter,” when Rule 3007(b) and LBR 3007-1(d) clearly require that the
           Trustee proceed by way of an adversary complaint for both the objection to RNI’s
           claim and any subordination of that claim. In the Ninth Circuit, it is clear that a
           request to subordinate a claim must proceed pursuant to a Rule 7001(8) adversary
           complaint when the request is combined with an objection to a claim.

 Dkt. No. 7-12 at 11.


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 Claim was merely “reinstated” when RNI paid the judgment against it and was then

 an “allowed claim,” subject to the Trustee’s Objection. Id. at 7-8.

 II.   Bankruptcy Court Order And Judgement

       The matter was fully briefed, and the bankruptcy court held a hearing on the

 Trustee’s Objection on July 10, 2017. Dkt. No. 7-21 (7/10/17 Hrg. Tr.). On July

 27, 2017, the bankruptcy court entered its Order Sustaining Objection to Claim,

 determining that RNI’s Claim should be disallowed. Dkt. No. 7-15 (7/27/17

 Order). With respect to the procedural issue, the bankruptcy court rejected RNI’s

 request to dismiss the Trustee’s Objection, and noted that:

              RNI argues that the proper procedure to subordinate under
              § 510(b) is to initiate an adversary proceeding. However, the
              judgment in the prior adversary proceeding determined all issues
              that are necessary to determine § 510(b) subordination, so it
              would be useless to initiate another proceeding because RNI
              would lose. However, equitable subordination under § 510(c)
              would bring in to play factors that were not involved in the prior
              adversary proceeding.

 7/27/17 Order at 4 n.7. With respect to the merits of the Trustee’s Objection, the

 bankruptcy court recounted the prior determination in the Adversary Proceeding in

 which the Trustee–

              brought an avoidance action against RNI to recover the roughly
              $1.4 million that the debtor paid to RNI pursuant to the judgment
              in the state court breach of contract action for the remaining debt
              owed under the stock repurchase agreement. I issued a
              judgment avoiding the transfer and ordering RNI to return the
              money to the bankruptcy estate. I found that the stock


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              repurchase agreement was illegal and that RNI had no restitution
              claim against the debtor.

 7/27/17 Order at 2 (footnotes omitted). The bankruptcy court then evaluated RNI’s

 current Claim in light of the prior rulings in the Adversary Proceeding, and

 concluded that the issues previously adjudicated precluded re-litigation of RNI’s

 Claim for restitution:

              The issue previously alleged in the avoidance litigation is
              identical to the issue raised in this claim objection—whether
              RNI has a restitution claim for its original $1,000,000.00
              contribution to the debtor. The debtor and RNI already
              presented arguments on this issue in the avoidance action and I
              made a final ruling that RNI did not have a restitution claim.
              RNI appealed to the U.S. District Court but the appeal was
              dismissed for lack of jurisdiction (RNI failed to timely file a
              notice of appeal) and the Ninth Circuit affirmed the dismissal.
              Thus, the issue was actually litigated and adjudicated. Finally,
              the determination that RNI’s purchase of the debtor’s stock was
              illegal was critical to the avoidance action. RNI argued, as a
              defense to the avoidance claim, that it had a restitution claim
              against the debtor, and that the satisfaction of that claim was
              value given in exchange for the payment. In order to evaluate
              this defense, I had to decide whether RNI’s restitution claim was
              valid. Because all of the elements are established, issue
              preclusion applies and [Proof of Claim] 21 is disallowed.

 7/27/17 Order at 2–3 (footnote omitted).

       With respect to RNI’s assertion that its Claim was restored pursuant to

 Section 502(d), the bankruptcy court explained, Section 502(d) “provides that, if a

 creditor received an avoidable transfer, the creditor’s claim is disallowed unless the

 creditor returns the transferred property. The implication of this section is that


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 returning the transferred property does not create a new claim; instead, it eliminates

 one reason for disallowing the creditor’s original claim.” 7/27/17 Order at 3.

 RNI’s repayment of the $1.4 million to the bankruptcy estate did not give “it a valid

 claim under § 502(d). . . the fact remains that, as [the court] previously determined,

 RNI’s claim is also invalid because the contract on which it was based was illegal.”

 7/27/17 Order at 3–4.

       Because the bankruptcy court disallowed RNI’s claim, it determined that the

 Trustee’s alternative requests for subordination under Section 510(b) and for

 equitable subordination under Section 510(c) were irrelevant, and did not address

 them further. Final Judgment was entered Sustaining the Trustee’s Objection to

 RNI’s Claim on July 31, 2017. Dkt. No. 7-16.

       This appeal and United States District Court election ensued. Dkt. No. 1.

                             STANDARD OF REVIEW

       This court reviews a bankruptcy court’s findings of fact for clear error and its

 conclusions of law de novo. In re Kimura (United States v. Battley), 969 F.2d 806,

 810 (9th Cir. 1992). The court “must accept the Bankruptcy Court’s findings of

 fact, unless the court is left with the definite and firm conviction that a mistake has

 been committed. Mixed questions of law and fact are reviewed de novo.” In re

 JTS Corp., 617 F.3d 1102, 1109 (9th Cir. 2010) (quotation marks and citations

 omitted). The Court reviews “de novo a bankruptcy court’s determination that


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 issue preclusion is available, and for an abuse of discretion the decision to apply

 issue preclusion.” In re Chunchai Yu, 694 F. App’x 542 (9th Cir. 2017) (citing

 Dias v. Elique, 436 F.3d 1125, 1128 (9th Cir. 2006)).

                                          DISCUSSION

        The Court resolves three issues necessary to the determination of this appeal,

 and affirms the bankruptcy court as to each.4 First, although it was error to proceed

 by contested matter instead of adversary proceeding on the Trustee’s Objection to

 RNI’s Claim, such error was harmless where it did not affect the substantial rights of

 the parties, is not inconsistent with substantial justice, and RNI suffered no

 prejudice. Second, the bankruptcy court neither erred nor abused its discretion by


 4
  Although RNI lists thirteen issues in its Statement of Issues on Appeal, most of the issues it raises
 are duplicative or irrelevant. In particular, several of the stated “issues on appeal” attack final
 determinations made by the bankruptcy court in the 2010 Adversary Proceeding—and not during
 the applicable Claims determination process—and which are not properly the subject of this
 appeal. See Dkt. No. 4-2 (8/28/17 RNI Designation of Record on Appeal and Statement of Issues
 on Appeal). One example, which does not touch on the bankruptcy court’s 7/27/17 Order at all,
 but relates entirely to the bankruptcy court’s prior ruling on Count I of the Trustee’s Motion for
 Summary Judgment in the Adversary Proceeding, states:

        Whether the Bankruptcy Court erred in holding that Appellant-RNI violated
        § 412:9-500 and § 412:3-612, Haw. Rev. Stat., when Appellant-RNI could not, as a
        matter of law, purchase an “equity interest” in Debtor nor could Appellant-RNI
        receive an “unlawful” dividend nor a dividend of any type from the Debtor because
        (i) the Debtor had operated as a Ponzi scheme since 1986, 13 years before
        Appellant-RNI purportedly purchased an “equity interest” in the Debtor in 1999,
        and (ii) thus Appellant-RNI could neither have “purchased” nor “redeemed” the
        “equity interest” in the Debtor after 1986, when the Debtor began operating as a
        Ponzi scheme.

 Dkt. No. 4-2 at 10 ¶ 8. RNI previously had the opportunity to challenge the bankruptcy court’s
 May 2011 rulings in the Adversary Proceeding. Seven years later, it may not seek to re-litigate
 those matters now in this appeal.

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 precluding RNI from asserting its Claim as a valid restitution claim. Finally, the

 bankruptcy court did not err in disallowing RNI’s Claim pursuant to Section

 502(b)(1), notwithstanding RNI’s repayment of its liability under Section 502(d).

 I.    The Bankruptcy Court’s Decision To Proceed By Contested Matter Was
       Harmless Error, And RNI Suffered No Prejudice

       The Court first addresses RNI’s assertion that the bankruptcy court was

 required to dismiss the Trustee’s Objection to RNI’s Claim pursuant to Federal

 Rules of Bankruptcy Procedure 3007(b) and 7001(8) and Local Bankruptcy Rule

 3007-1(d). Although the Trustee’s Objection included alternative requests for

 subordination, which ordinarily require the filing of an adversary complaint under

 Bankruptcy Rule 7001(8), it was harmless error not to proceed in that manner under

 the specific circumstances of this case. That is because the material facts were few

 and undisputed, the critical issues were pure questions of law, and RNI identified no

 prejudice it would suffer by forgoing the successive adversary proceeding it now

 demands. Further explanation is set forth below.

       A.     The Bankruptcy Court’s Decision To Proceed By Contested
              Matter Is Subject To Harmless Error Analysis

       It is undisputed that the Trustee filed an Objection to RNI’s Claim, and that

 Federal Rule of Bankruptcy Procedure 3007 governs such objections. Nor is it

 disputed that the Trustee’s objection also included an alternative subordination

 request. In such circumstances, Bankruptcy Rule 3007(b) commands that the court


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 proceed by adversary proceeding. Fed. R. Bank. P. 3007(b) (“[a] party in interest

 shall not include a demand for relief of a kind specified in Rule 7001[5] in an

 objection to the allowance of a claim, but may include the objection in an adversary

 proceeding.”); see also Local Bankr. R. 3007-1(d) (“An objection to claim that

 includes a demand for relief of a kind specified in Bankruptcy Rule 7001 shall be

 converted to an adversary proceeding.”).

        The Bankruptcy Appellate Panel of the Ninth Circuit and other reviewing

 courts have examined similar procedural challenges under the Bankruptcy Rules and

 determined that the failure to require a separate adversary proceeding is subject to

 harmless error analysis. See, e.g., Korneff v. Downey Reg’l Med. Ctr. Hosp., Inc.

 (In re Downey Reg’l Med. Ctr. Hosp., Inc.), 441 B.R. 120, 127 (B.A.P. 9th Cir.

 2010) (“The bankruptcy court’s decision not to require an adversary proceeding is

 subject to a harmless error analysis.”); Ruvacalba v. Munoz (In re Munoz), 287 B.R.

 546, 551 (B.A.P. 9th Cir. 2002) (“Such an error may nevertheless be harmless when

 the record of the procedurally incorrect ‘contested matter’ is developed to a

 sufficient degree that the record of an adversary proceeding likely would not have

 been materially different. In such circumstances, the error does not affect the

 substantial rights of the parties and is not inconsistent with substantial justice.”); In


 5
  The Trustee does not dispute that Bankruptcy Rule 7001, which provides a list of all items to be
 brought as adversary proceedings, expressly includes “a proceeding to subordinate any allowed
 claim or interest[.]” Fed. R. Bankr. P. 7001(8).

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 re Decker, 199 B.R. 684, 689 (B.A.P. 9th Cir. 1996) (“Ninth Circuit case law

 indicates that failure to provide an adversary proceeding is subject to a harmless

 error analysis.”); In re Gentile Family Indus., 2014 WL 4091001, at *6 (B.A.P. 9th

 Cir. Aug. 19, 2014) (“Even if the bankruptcy court possibly erred in not requiring an

 adversary proceeding to determine the Cooper Lease’s term, we conclude that such

 error was harmless.”); In re Strata Title, L.L.C., 2014 WL 661174, at *8 (B.A.P. 9th

 Cir. Feb. 21, 2014) (“In reviewing the bankruptcy court’s decision to allow the

 contest between Debtor and Pure Country to be litigated in a contested matter rather

 than in an adversary proceeding, we apply a harmless error analysis.”); see also In re

 Cannonsburg Envtl. Assocs., Ltd., 72 F.3d 1260, 1264 (6th Cir. 1996) (“Although

 we believe that an adversary proceeding should have been filed instead of a motion

 in a contested matter, this error constitutes harmless error.”) (citing Fed. R. Bankr. P.

 9005 (harmless error rule incorporating Fed. R. Civ. P. 61)).

       The Court examines the following factors, among others, to determine

 whether the failure to require the Trustee to file a separate adversary complaint

 constitutes harmless error:

              whether the “material facts are few and undisputed,” whether the
              “critical questions are pure questions of law,” and whether the
              “factual record [or] the quality of the presentation of the
              arguments would have been materially different had there been
              an adversary proceeding.”




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 In re Lakhany, 538 B.R. 555, 561–62 (B.A.P. 9th Cir. 2015) (quoting In re Munoz,

 287 B.R. at 551).

        Some courts have reframed these factors to evaluate whether the appellant

 was prejudiced by the bankruptcy court’s procedural determinations:

                The [Bankruptcy Appellate] Panel has developed a list of factors
                that we consider in determining whether prejudice has resulted
                from a bankruptcy court’s decision to proceed by contested
                matter rather than adversary proceeding: (1) the material facts
                were few and undisputed, (2) the dispositive issues were pure
                questions of law, (3) neither party expressed any discontent with
                the contested matter procedures the bankruptcy court utilized,
                and (4) this Panel was “satisfied that neither the factual record
                nor the quality of the presentation of the arguments would have
                been materially different had there been an adversary
                proceeding.” Ruvacalba v. Munoz (In re Munoz), 287 B .R.
                546, 551 (9th Cir. BAP 2002).

 In re Strata Title, L.L.C., 2014 WL 661174, at *9 (B.A.P. 9th Cir. Feb. 21, 2014).

 As detailed below, under this rubric, RNI has not demonstrated that it was

 prejudiced, and, to the extent the bankruptcy court erred in not requiring that the

 Trustee seek alternative relief via an adversary proceeding, that error was harmless.6




 6
  Even in In re Copper King Inn, Inc., 918 F.2d 1404, 1406–07 (9th Cir. 1990), cited by RNI for the
 proposition that a subordination defense must proceed via adversary proceeding, the Ninth Circuit
 found that a trustee’s failure to file an adversarial proceeding was not fatal because “for all
 practical purposes an adversarial proceeding was held in this case,” and because the claimant
 “ha[d] not shown its position was materially prejudiced by the course of events.”

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       B.     RNI Suffered No Prejudice, And The Bankruptcy Court’s
              Decision To Proceed Without A Separate Adversary Proceeding
              Was Harmless Error

       Under the harmless error standard, the Court concludes that the failure to

 require the Trustee to commence a separate adversary proceeding did not

 substantially affect the rights of the parties and is not inconsistent with substantial

 justice. See In re Munoz, 287 B.R. at 551 (internal citations omitted); Fed. R.

 Bankr. P. 9005. The procedural error is harmless in light of: the bankruptcy court

 record, which was developed to a sufficient degree that the record of an adversary

 proceeding likely would not have been materially different; the issues of law raised

 by the Trustee’s Objection, rather than disputed issues of fact; the procedures

 utilized, which were the practical equivalent of an adversary proceeding and

 satisfied the basic tenets of due process; and the lack of prejudice to RNI.

       First, the Court observes that the record before the bankruptcy court when it

 determined the Trustee’s Objection was complete. The alternative requests for

 subordination under Section 510(b) and equitable subordination under Section

 510(c) were clearly presented to the bankruptcy court in the Trustee’s Objection, and

 RNI does not offer any evidence or argument that the separate filing of an adversary

 complaint would have resulted in a more fully developed record with respect to the

 alternative requests for subordination. In any event, the arguments and evidence

 that RNI presented to the bankruptcy court with respect to Sections 510(b) and


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 510(c), as it turned out, were irrelevant to the central issue of the Trustee’s Objection

 to RNI’s claim. In short, the record in the bankruptcy court was developed to a

 sufficient degree that “any arguably enhanced record generated in an adversary

 proceeding likely would not have been material.” In re Strata Title, L.L.C., 2014

 WL 661174, at *10.

       Second, as RNI acknowledges, the bankruptcy court was asked to decide

 questions of law, rather than resolve questions of disputed fact in the matters below.

 See RNI Opening Br. at 6, Dkt. No. 6. The “harmless error standard is especially

 apt where the bankruptcy motion in question was the procedural equivalent of a

 motion for summary judgment, with the issues to be decided by the bankruptcy court

 dealing with questions of law, not disputed fact.” In re Strata Title, L.L.C., 2014

 WL 661174, at *8 (citing City Equities Anaheim, Ltd. v. Lincoln Plaza Dev. Co. (In

 re City Equities Anaheim, Ltd.), 22 F.3d 954, 958–59 (9th Cir. 1994)). In the

 briefing below, the Trustee urged the bankruptcy court (1) to disallow RNI’s claim

 based upon prior Adversary Proceeding rulings and, alternatively, (2) to subordinate

 RNI’s Claim under Section 510(b) because RNI was a shareholder of MFC, and

 (3) to equitably subordinate RNI’s Claim under Section 510(c) because the court

 previously determined that MFC’s distributions to RNI violated state law. See Dkt.

 No. 7-11 (Tr.’s Obj.). These were issues of law that did not require consideration of

 disputed facts, did not call for the court to weigh evidence, and did not require the


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 court to assess credibility. Moreover, no new evidence was raised at the July 10,

 2017 hearing on the Trustee’s Objection. In other words, the material facts relied

 upon by the bankruptcy court were undisputed at the time of the July 10, 2017

 hearing—the parties contested only the law applicable to those undisputed facts and

 the ultimate outcome.

       Third, the contested matter conducted below was the functional equivalent of

 an adversary proceeding, offering and providing all parties notice, briefing and an

 opportunity to be heard. At the July 10, 2017 hearing on the Trustee’s Objection,

 the bankruptcy court considered the parties’ arguments—including those raised by

 RNI for the first time at the hearing—and even discussed the possible effect of the

 Trustee dropping the alternative subordination request and proceeding only with the

 Objection. Dkt. No. 7-21 at 8–13 (7/10/2017 Hrg. Tr.). The Court is satisfied that

 “the quality of the presentation of the arguments would [not] have been materially

 different had there been an adversary proceeding. Instead, it appears that [RNI] had

 adequate notice of the issues raised in the [Trustee’s Objection], [a] hearing[] w[as]

 conducted, . . . briefing was submitted, [and] the parties had ample time to air their

 positions[.]” In re Strata Title, L.L.C., 2014 WL 661174, at *10; see also In re

 Starky, 522 B.R. 220, 229 (B.A.P. 9th Cir. 2014) (proceeding by contested matter

 was harmless error where “Debtors never argued to the bankruptcy court that they

 were not properly served with the Trustee’s papers or did not receive notice of


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 scheduled proceedings”); In re Gentile Family Indus., 2014 WL 4091001, at *6

 (“The hearing was held as scheduled; the parties had ample time to air their

 positions. After considering the parties’ evidence and arguments, the bankruptcy

 court determined, as a matter of law, that the Cooper Lease term had been extended

 another five years. On this record, we have difficulty understanding how Diatom

 was procedurally disadvantaged by the bankruptcy court’s approach.”). Here, as in

 Strata Title, “for all practical purposes, an adversary proceeding was held,” and RNI

 was not denied due process. In re Strata Title, L.L.C., 2014 WL 661174, at *10–11

 (“The due process requirements Debtor invokes are satisfied in both adversary

 proceedings under Rule 7001 and contested matters under Rule 9014.”).

       Finally, both before the bankruptcy court and again in this appeal, RNI

 identified no prejudice to itself caused by the bankruptcy court’s decision to proceed

 by contested matter. See, e.g., RNI Mem. in Opp’n to Tr.’s Obj., filed 6/26/17, Dkt.

 No. 7-12; see also In re Strata Title, L.L.C., 2014 WL 661174, at *8 (“Debtor has not

 provided any specific examples of how the contested proceedings employed in this

 case caused it any significant prejudice.”) (citing In re Downey Reg’l Med. Ctr.

 Hosp., Inc., 441 B.R. at 128 (requiring the party claiming prejudice to identify

 discoverable facts or witnesses that would “have changed the outcome of the

 case.”)). Put another way, RNI failed to demonstrate how any “procedural

 difference between contested matters and adversary proceedings prejudiced [it] in


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 any meaningful way.” In re Downey Reg’l Med. Ctr. Hosp., Inc., 441 B.R. at 127.

 Based upon the factors discussed above, RNI not only did not suffer any evident

 prejudice, but does not even offer any allegation to the contrary. “It is difficult to

 understand how [RNI] was disadvantaged by the bankruptcy court’s approach,” In

 re Strata Title, L.L.C., 2014 WL 661174, at *8, particularly where RNI itself does

 not attempt to identify any such disadvantage. In short, “[a]bsent a credible

 argument or specific examples from [RNI] showing it suffered some procedural

 disadvantage as a result of the procedures used in the bankruptcy court, that the court

 allowed the action to proceed as a contested motion rather than adversary

 proceeding is not a sufficient reason to disturb the [bankruptcy court’s Order].” In

 re Strata Title, L.L.C., 2014 WL 661174, at *10.

 II.   The Bankruptcy Court Properly Sustained The Trustee’s Objection To
       RNI’s Restitution Claim Based Upon Principles Of Issue Preclusion

       RNI argues that the bankruptcy court wrongly disallowed its Claim under the

 doctrine of collateral estoppel. The Court disagrees.

              “Collateral estoppel, or issue preclusion, bars the relitigation of
              issues actually adjudicated in previous litigation between the
              same parties.” Clark v. Bear Stearns & Co., Inc., 966 F.2d
              1318, 1320 (9th Cir. 1992). For the doctrine to apply: (1) the
              issue must be identical to one alleged in prior litigation; (2) the
              issue must have been “actually litigated” in the prior litigation;
              and (3) the determination of the issue in the prior litigation must
              have been “critical and necessary” to the judgment. Id.

 Beauchamp v. Anaheim Union High Sch. Dist., 816 F.3d 1216, 1225 (9th Cir. 2016).


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        First, as accurately recounted by the bankruptcy court, the parties to this

 action are identical to those in the 2010 Adversary Proceeding in which the Trustee

 brought an avoidance action on behalf of the estate against RNI seeking to recover

 the $1,040,000 that MFC paid to it. The issue is also identical—despite RNI’s

 attempt to obfuscate.7 In giving the issue preclusive effect, the bankruptcy court

 held that the facts and law that it relied upon in establishing that RNI did not have a

 valid restitution claim for avoidance purposes also established that RNI did not have

 a valid restitution claim for purposes of whether to disallow RNI’s claim under

 Section 502(a)–(e). 7/27/17 Order at 2–3.

        RNI’s arguments to the contrary are misplaced. For example, RNI notes that

 the bankruptcy court “relied on its earlier decision in the fraudulent transfer

 [Adversary Proceeding] under [HRS] § 651C-4, to conclude that under § 502(b)(1)

 RNI could not have a restitution claim as per § 651C-8 [avoidance defense based

 upon showing of both good faith and equivalent value].” RNI Reply at 6, Dkt. No.

 10. RNI, however, maintains that it is not presently “attempting to argue that the

 § 651C-8 restitution defense affects Trustee’s avoidance recovery, but RNI contends

 that [the] § 651C-8 restitution decision cannot be applied to disallow RNI’s timely

 filed proof of claim under both § 502(b) and § 502(d) since the elements of both laws


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  RNI, for instance, argues that its own 2009 state court judgment against MFC should have
 preclusive effect, rather that the bankruptcy court’s final decision in the Adversary Proceeding. It
 is difficult to see how that could be so, given the Trustee’s absence from the state court proceeding.

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 are different, as are the underlying policies.” RNI Reply at 6, Dkt. No. 10

 (emphasis added). RNI’s argument misses the mark. Whether the elements of a

 fraudulent transfer claim or defense are identical to the elements applicable to

 determining whether a claim is “allowed” or “disallowed” under the Bankruptcy

 Code is not dispositive of whether issue preclusion applies.8 Throughout its

 briefing, RNI insists that it is “simply trying to enforce its restitution claim that the

 Bankruptcy Court wrongly denied.” RNI Opening Br. at 19, Dkt. No. 6; see also id.

 at 22–24. For purposes of this appeal, whether RNI had a valid restitution claim

 was an issue previously litigated and determined in the Adversary Proceeding. RNI




 8
  RNI appears to confuse the requirements of issue preclusion with those of “claim preclusion” or
 res judicata. See, e.g., Whole Woman’s Health v. Hellerstedt, 136 S. Ct. 2292, 2331 (2016)
 (Alito, J., dissenting) (“Litigation of a ‘cause of action’ or ‘claim’ is barred if (1) the same (or a
 closely related) party (2) brought a prior suit asserting the same cause of action or claim, (3) the
 prior case was adjudicated by a court of competent jurisdiction and (4) was decided on the merits,
 (5) a final judgment was entered, and (6) there is no ground, such as fraud, to invalidate the prior
 judgment.”). “[C]laim preclusion prevents a party from relitigating not only issues which were
 actually litigated in a prior action, but also all grounds of claim and defense which might have been
 properly litigated in the prior action.” Hanson v. Palehua Cmty. Ass’n, 2013 WL 1751504, at *7
 (D. Haw. Apr. 23, 2013), aff’d, 599 F. App’x 299 (9th Cir. 2015) (citations omitted). “[I]ssue
 preclusion similarly prevents a subsequent suit between the parties or their privies on a different
 cause of action and prevents the parties or their privies from relitigating any issue that was actually
 litigated and finally decided in the earlier action.” Id. (citation omitted); see also New Hampshire
 v. Maine, 532 U.S. 742, 748–49 (2001) (“Claim preclusion generally refers to the effect of a prior
 judgment in foreclosing successive litigation of the very same claim, whether or not relitigation of
 the claim raises the same issues as the earlier suit. Issue preclusion generally refers to the effect
 of a prior judgment in foreclosing successive litigation of an issue of fact or law actually litigated
 and resolved in a valid court determination essential to the prior judgment, whether or not the issue
 arises on the same or a different claim.”). The bankruptcy court did not rely upon claim
 preclusion when considering the preclusive effect of the judgment in the Adversary Proceeding on
 the issues raised by the Trustee’s Objection to RNI’s Claim.

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 may not relitigate that same “issue” by recasting it as a different “claim” or cause of

 action.

           Second, the parties during the Adversary Proceeding presented arguments on

 the issue, and the bankruptcy court issued a final ruling which was appealed by RNI

 and dismissed by the district court and the Ninth Circuit. See Field v. RNI-NV,

 2011 WL 1870289 (Bankr. D. Haw. 2011), appeal dismissed, 2011WL 6012039 (D.

 Haw.), recon. denied, 2012 WL 667759 (D. Haw.), aff’d, 583 Fed. Appx. 636 (9th

 Cir. July 14, 2014). For a claim to be “actually litigated” means that there was “a

 full and fair opportunity to litigate the merits of an issue.” Littlejohn v. United

 States, 321 F.3d 915, 923 (9th Cir. 2003). RNI has had a full opportunity to litigate

 the restitution issue in the Adversary Proceeding—including the chance to raise its

 argument regarding the preclusive effect of the 2009 state court action between RNI

 and MFC. Accordingly, the issue was actually litigated and adjudicated.

           Finally, the question of whether RNI had a valid restitution claim was critical

 and necessary to the judgment where the bankruptcy court avoided the transfers and

 determined that because RNI did not have a restitution claim, the Trustee was

 entitled to summary judgment.9 As to Count I for violation of the Hawaii Business



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     According to the bankruptcy judge,

           the determination that RNI’s purchase of the debtor’s stock was illegal was critical
           to the avoidance action. RNI argued, as a defense to the avoidance claim, that it

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 Corporations Act, HRS § 414-111(c), the bankruptcy court found that MFC’s

 issuance of the promissory note to RNI and payments on the note were

 “distributions” and that MFC was insolvent when the transfers were made. As a

 result, the transfers were avoided, and RNI was not entitled to restitution for the

 original $1,000,000 contribution to MFC. Mem. of Decision at 4–8, filed May 16,

 2011, Dkt. No. 7-31. With respect to Count II, the bankruptcy court determined

 that the Trustee could avoid the transfers to MFC under the Hawaii Uniform

 Fraudulent Transfer Act, HRS § 651C-4(a), because RNI did not take the transfers in

 good faith and for reasonably equivalent value. Although RNI argued that its

 restitution claim arising out of the void stock repurchase agreement was equivalent

 value for the purpose of its good faith defense, the bankruptcy court rejected this

 assertion because “RNI does not have a valid restitution claim.” Mem. of Decision

 at 6, filed May 16, 2011, Dkt. No. 7-31. That is, because the bankruptcy court

 determined that RNI did not have a valid restitution claim, it granted summary

 judgment to the Trustee on Counts I and II and avoided the $1,040,000 transfer from

 MFC to RNI.




        had a restitution claim against the debtor, and that the satisfaction of that claim was
        value given in exchange for the payment. In order to evaluate this defense, I had to
        decide whether RNI’s restitution claim was valid.

 7/27/2017 Order at 3.

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        The bankruptcy court found in the 2010 Adversary Proceeding that RNI did

 not have a restitution claim, and that determination was not disturbed on appeal.

 RNI is collaterally estopped from re-litigating this issue, and the bankruptcy court

 did not err in disallowing the claim.

 III.   The Bankruptcy Court Properly Sustained The Trustee’s Objection To
        RNI’s “Restoration” Claim Under Section 502(d)

        RNI also argues that the bankruptcy court erred in denying its Claim in light

 of the fact that it repaid the judgment against it in the Adversary Proceeding. The

 Trustee does not dispute RNI’s argument that its Claim was “reinstated” by

 repayment of the voided transfers. However, the Trustee disagrees that the Claim

 was somehow “restored” pursuant to Section 502(d).

        Under RNI’s reading of the relevant provisions, because its Claim is no longer

 “disallowed” pursuant to 11 U.S.C. § 502(d), it is thereby entitled to a distribution

 from the estate on its Claim. It is RNI’s theory that the “Trustee’s receipt for RNI’s

 payment of the judgment, satisfied the requirements of § 502(d), enabling RNI to

 participate in any distribution from the Estate.” RNI Opening Br. at 11 (citations

 omitted), Dkt. No. 6. Indeed, RNI asserts that “[e]ven though the court avoided

 MFC’s transfer to RNI, because RNI repaid the full amount of the avoided transfers

 with pre- and postjudgment interest, now the Bankruptcy Court must allow RNI’s

 Class A claim in the amount of $1,000,000.00, or $1,428,324.90, or in an amount to

 be determined by the Court.” Id. (Emphasis added). RNI is incorrect.

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       Section 502(d) provides:

              Notwithstanding subsections (a) and (b) of this section, the court
              shall disallow any claim of any entity from which property is
              recoverable under section 542, 543, 550, or 553 of this title or
              that is a transferee of a transfer avoidable under section 522(f),
              522(h), 544, 545, 547, 548, 549, or 724(a) of this title, unless
              such entity or transferee has paid the amount, or turned over any
              such property, for which such entity or transferee is liable under
              section 522(i), 542, 543, 550, or 553 of this title.

 Under this provision, until RNI “paid the amount” for which it was liable under

 Section 550, its Claim was “disallowed.” Once RNI repaid the estate (upon

 termination of its appeal of the Adversary Proceeding in 2014), its Claim was no

 longer “disallowed” by operation of Section 502(d). Nothing in Section 502(d),

 however, mandates that once an entity pays the “amount recoverable,” such entity is

 thereby entitled to distributions from the estate. To be clear, under the plain

 language of the statute, Section 502(d) simply provides that until a creditor pays

 what it owes to an estate, any claim it may have is disallowed. That is all. No

 portion of this provision, nor any other in the Bankruptcy Code, states that once an

 entity pays what it owes the estate, such entity is unconditionally entitled to

 participate in distributions from the estate.

       To the contrary, RNI is not entitled to payment on its Claim based solely upon

 operation of Section 502(d) because the bankruptcy court sustained the Trustee’s

 Objection based, in part, upon the prior binding determination in the 2010 Adversary

 Proceeding that RNI does not have a valid restitution claim. The Trustee does not

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 dispute that RNI accounted to the estate for its liability, and, therefore, RNI’s Claim

 is no longer disallowed. Notwithstanding repayment of its liability pursuant to

 Section 502(d), RNI’s Claim remains subject to the remaining provisions of Section

 502. Section 502(h) provides that Sections 502(a) and (b) apply to RNI’s reinstated

 claim.10 Under Section 502(a), “[a] claim or interest, proof of which is filed under

 section 501 of this title, is deemed allowed, unless a party in interest, including a

 creditor of a general partner in a partnership that is a debtor in a case under chapter 7

 of this title, objects.” (Emphasis added). In this instance, the Trustee filed an

 objection, which the bankruptcy court considered, and sustained pursuant to Section

 502(b)(1), which provides:

                   (b) Except as provided in subsections (e)(2), (f), (g), (h) and (i) of
                   this section, if such objection to a claim is made, the court, after
                   notice and a hearing, shall determine the amount of such claim in
                   lawful currency of the United States as of the date of the filing of
                   the petition, and shall allow such claim in such amount, except to
                   the extent that—

                           (1) such claim is unenforceable against the debtor and
                           property of the debtor, under any agreement or applicable
                           law for a reason other than because such claim is
                           contingent or unmatured[.]




 10
      Section 502(h) states:

           A claim arising from the recovery of property under section 522, 550, or 553 of this
           title shall be determined, and shall be allowed under subsection (a), (b), or (c) of
           this section, or disallowed under subsection (d) or (e) of this section, the same as if
           such claim had arisen before the date of the filing of the petition.

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 Because the bankruptcy court determined that RNI’s Claim was unenforceable

 under Section 502(b)(1), it disallowed the Claim. This was not error, despite the

 fact that RNI had satisfied its liability under Section 502(d).

                                        CONCLUSION

        For the foregoing reasons,11 the bankruptcy court did not err when it sustained

 the Trustee’s Objection and disallowed RNI’s Claim. Accordingly, the Court

 affirms the bankruptcy court’s July 27, 2017 Order and Final Judgment entered on

 July 31, 2017. The Clerk of Court is directed to close the case.

        IT IS SO ORDERED.

        DATED: January 30, 2018 at Honolulu, Hawai‘i.




 In re Maui Indus. Loan & Fin. Co., CV 17-00394; ORDER AFFIRMING BANKRUPTCY
 COURT ORDER


 11
   Because the Court affirms the bankruptcy court’s decision to sustain the Trustee’s Objection to
 RNI’s Claim on these grounds, it does not reach the remaining issues raised in the parties’ briefing
 relating to subordination or classification of the Claim.

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